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                IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF KANSAS


PHYLLIS J. ZORN                         )
                                        )
                            Plaintiff   )
                                        )
v.                                      )
                                        ) Case No.
CITY OF MARION, KS; DAVID MAY-          )
FIELD, individually and in his official )
capacity; GIDEON CODY, individually and )
in his official capacity; ZACHARIAH     )
“ZACH” HUDLIN, in his individual        )
capacity; THE BOARD OF COUNTY           )
COMMISSION OF MARION COUNTY, KS; )
SHERIFF JEFF SOYEZ, individually and )
in his official capacity; AARON CHRIST- )
NER, in his individual capacity.        )
                                        )
                            Defendants  )
______________________________ )


                                  COMPLAINT

      COMES NOW the plaintiff and for her claims against the defendants, and

each of them, alleges and states as follows:

      1.     PHYLLIS J. ZORN is a resident of the State of Kansas. At all times

material to this action, Ms. Zorn was an award winning reporter for the Marion

County Record (“the Record”), a weekly newspaper published in Marion, Kansas.
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      2.       MARION is a small town in central Kansas. It is governed by a

mayor and four council members. DAVID MAYFIELD was the duly elected

mayor of Marion at all times material to this action. Mayfield was formerly a

Kansas Highway Patrol trooper who later became Marion’s police chief, and since

2020 has worked part-time for the Marion County Sheriff’s Office transporting

prisoners.

      3.      GIDEON CODY was, at all times material to this action, the Chief of

Police of Marion. Cody has fled the jurisdiction and his current whereabouts are

unknown.

      4.      Officer ZACHARIAH “ZACH” HUDLIN at all times material to this

action was a member of the Marion Police Department.

      5.      The defendant BOARD OF MARION COUNTY COMMISSIONERS is

comprised of duly elected county commissioners of Marion County, Kansas. The

defendant JEFF SOYEZ is the duly elected Sheriff of Marion County, Kansas.

      6.      AARON CHRISTNER was, at all times material of this action, a

detective with the Marion County Sheriff’s Office.

      7.      At all times material to this action, the defendants were acting under

color of state law. The Fourth Amendment to the United States Constitution

forbids unreasonable searches and seizures. The First Amendment to the United

States Constitution guarantees that “Congress shall make no law ... abridging the

freedom of speech, or of the press.” Accordingly, this action arises under the laws


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of the United States and presents a federal question within this Court’s

jurisdiction. It is brought pursuant to 28 U.S.C. §§1331, 1343 and 42 U.S.C.

§1983, et seq.

      8.     The parties are residents or political entities located in the state of

Kansas–except GIDEON CODY who has fled the jurisdiction for parts unknown.

Venue is proper in this district pursuant to 28 U.S.C. § 1391(a) because a

substantial part of the events or omissions giving rise to this action, including the

unlawful practices alleged herein, occurred in this district.



                                    Background

      9.     Marion was in need of a new police chief in 2023. By April, the city

had identified three candidates: acting police chief Duane McCarty; Chris Mercer,

who works as a fire investigator for the state fire marshal and part time Marion

police officer; and Gideon Cody, a captain in the Kansas City, Missouri Police

Department.

      10.    Gideon Cody had experienced a number of problems in his former

employment. To the surprise of no one, when the Record reported that Gideon

Cody was a candidate for the Marion police chief position, the newspaper began

receiving tips about Cody from persons who were afraid to go on the record for

fear of retribution by Cody.




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      11.    According to one source, Cody was “the absolute worst commander I

ever experienced,” said “his ego would not allow him to listen to what anyone

below his rank said,” and described him as a “toxic/ego-centric commander.”

      12.     Three sources told the paper that Cody ran over a dead body at a

crime scene. The tipsters also reported that Cody was about to be demoted by the

Kansas City Police Department from captain to sergeant because of offensive

conduct towards other officers.

      13.    Multiple sources reported a conversation in which Cody expressed

his disdain for working in dispatch, and said if he had not been transferred out of

dispatch he would have found “the skinniest and prettiest girl down there and

f*cked her” to force a reassignment.

      14.    Cody soon became aware that the Record was looking into his

background in Kansas City. This infuriated Cody and he later suggested to the

plaintiff that she leave the paper and start a competing paper in Marion. He

promised her that he would invest with her and would enlist a number of others

to do so as well. The plaintiff laughed off the suggestion, not understanding the

depth of his anger at the Record. When Ms. Zorn disclaimed any interest in his

proposal, she was moved to Cody’s enemies list.

      15.    In late April, Mayor Mayfield offered Cody the police chief position

even before the City Council approved his hiring. On May 1, Cody took the oath of

office before the City Council voted to hire him. In his new position, Cody was


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making only about half of what he had been making as a captain in the Kansas

City, Missouri Police Department, where he had worked for 24 years.

      16.    Cody was only “provisionally accredited” by the Kansas Commission

of Peace Officers’ Standards and Training.


                         A Congressman Comes to Town

      17.    In late July, U.S. Congressman Jake LaTurner (R) announced he

would be visiting Marion on August 1, 2023, for “Coffee With Your

Congressman.” Rep. LaTurner represents Kansas’ Second Congressional District;

Marion County had recently moved from the First Congressional District to the

Second Congressional District as part of Kansas’ 2022 congressional

reapportionment.

      18.    Rep. LaTurner’s Communications Director specifically reached out to

Record editor and publisher Eric Meyer and invited him to attend the event.

      19.    The event was to be held at Kari’s Kitchen, a Marion coffee shop

owned by Kari Newell, who also owns the upscale Chef’s Plate in the Historic

Elgin Hotel across the street. Kari’s Kitchen posted its own invitation to the event

on its Facebook page, describing it as an “open meet and greet.”

      20.    Record editor Eric Meyer and Ms. Zorn attended the August 1st

“open meet and greet.” While waiting for Rep. LaTurner to arrive, Kari Newell

told the plaintiff to leave, saying “I will not have members of the media in my

establishment. You have to leave.”




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       21.      Shortly thereafter, Chief Cody approached both Meyer and Zorn and

told them to leave; he said that Newell asked that the two journalists “be evicted.”

This action set the stage for what was about to happen and demonstrates the

disdain that Cody held for the First Amendment in general and the plaintiff

specifically.



                           A Confidential Tip on Kari Newell

       22.      The following day, August 2, 2023, Ms. Zorn received a direct

message on Facebook from Pam Maag, a resident of Marion, about Newell. Maag,

who requested anonymity, stated that Newell’s driver’s license was suspended

due to a prior DUI conviction.

       23.      The tipster also told Zorn that local law enforcement had known for

years that Newell was driving without a valid driver’s license. It is a violation of

the ordinances of the City of Marion and the laws of this county and state to

operate a vehicle without a license.

       24.      That same day the tipster sent Zorn, via Facebook messenger, a copy

of an August 1, 2023, letter from the Kansas Department of Revenue to Newell.

The letter had come from Newell’s husband–who was at the time going through a

divorce with Ms. Newell. Apparently, Mr. Newell was frustrated that his wife had

been able to drive around town without a license for years. Ms. Zorn received the

message on August 2.

       25.      The letter in question was addressed to Ms. Newell and includes her

full name, address, driver’s license number and date of birth. The letter set forth

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various requirements Newell would have to meet in order to restore her driving

privileges, including having an ignition interlock device installed on her car.

      26.    The source told Ms. Zorn that she could confirm the information

about Newell through the Kansas Department of Revenue website, by using

Newell’s name, address, driver’s license number, and date of birth—all of which

were on the letter from the Department of Revenue. The source also told Zorn she

could obtain a copy of the August 1, 2023, letter from the Department of Revenue

to Newell from the same website.

      27.    Ms. Zorn printed the copy of the letter from Facebook and shared it

with Meyer. The following day, Meyer located the webpage titled “Kansas

Driver’s License Status Check” on the Kansas Department of Revenue website by

performing a Google search.

      28.    This webpage allows anyone to check the status of a Kansas driver’s

license so long as that person knows the driver’s license number, first and last

name, and date of birth of the driver they are checking on. It does not require a

log-in, does not require a username or password, and does not contain any

warning about accessing information on the site. In fact, the so-called

“Disclaimer” on the Department of Revenue’s website merely warns users that the

information “is a summary only and will not display any sanctions from another

state.”

      29.    Using the information from the August 1, 2023, Department of

Revenue letter which the source had provided Zorn (Newell’s first and last name,

address, driver’s license number, and date of birth) Meyer used the Kansas

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Driver’s License Status Check webpage to confirm Newell’s DUI conviction and

the fact Newell’s license was suspended.

        30.    Zorn then called the Kansas Department of Revenue and was told

that the letter in question was available on the same public-facing website, a user

simply must keep clicking to find the link. Ms. Zorn then went to the same

website Eric Meyer had used and saw that at the bottom of the same screen

showing Newell’s DUI conviction and suspension there was a box to click to view

“Documents.”

        31.    When Ms. Zorn clicked on that box a form appeared on the webpage

and asked for “Requester’s Information.” Zorn then inserted her own name into

the form and entered Newell’s driver’s license number and address.

        32.    The Kansas Driver’s License Status Check webpage then required

Zorn to check a box that read: “I will use the information requested in a manner

that is specifically authorized by Kansas law and is related to the operation of a

motor vehicle or public safety. (See section VI on the front of this form).”

        33.    After Zorn checked the box and clicked “Accept,” nineteen

“Documents” appeared on the screen—the first of which was the August 1, 2023,

letter from the Kansas Department of Revenue to Newell concerning the ignition

interlock device, i.e., the same document the source had previously provided

Zorn.

        34.    Having confirmed that the KDOR letter was legitimate, Zorn then

closed the webpage and informed Meyer that she had verified that the

information (and document) provided by the confidential source was accurate.

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Ms. Zorn never claimed to be Ms. Newell at any time in her dealings with the

website.

      35.    The Kansas law on driver’s license records is clear. The very first

sentence of the “Division of vehicles; records; disclosure” statute provides that all

driver’s license records “shall be subject to the provisions of the open records act,

except” (a) “records which relate to the physical or mental condition of any

person,” (b) “records which have been expunged,” or (c) “photographs [on]

drivers’ licenses.” K.S.A. 74-2012(a)(1) & (b).

      36.    Zorn’s use of the Kansas Driver’s License Status Check website to

confirm that Newell’s driver’s license was suspended due to a DUI

conviction—and that she could get her license reinstated only by installing an

ignition interlock device—does not relate to any of the three exempted topics set

forth in K.S.A. 74-2012(a)(1) & (b).

      37.    Zorn’s use of the Kansas Driver’s License Status Check webpage to

confirm that Newell’s driver’s license was suspended due to a DUI

conviction—and that she could get her license reinstated only by installing an

ignition interlock device—plainly related to the operation of a motor vehicle and

to public safety.

      38.    Accordingly, Zorn’s use of the Kansas Driver’s License Status Check

website to confirm that Newell’s driver’s license was suspended due to a DUI

conviction and that she could get her license reinstated only by installing an

ignition interlock device was clearly legal.



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      39.     Despite the fact that Zorn’s use of the public-facing Kansas

Department of Revenue website to confirm that Newell’s driver’s license was

suspended due to a DUI conviction and that she could get her license reinstated

only by installing an ignition interlock device was legal, Meyer subsequently

decided not to publish the information about Newell because he believed the

paper was being drawn into a bitter divorce.

      40.     While Meyer elected not to publish a report on Newell’s DUI

conviction and the fact she was driving without a valid license, he did write the

Marion Police Chief and the Marion County Sheriff to “alert” them about the on-

going violation of the law by an individual in Marion.

      41.     Specifically, on Friday, August 4, 2023, Meyer e-mailed Chief Cody

and Marion County Sheriff Jeff Soyez and told them that a confidential source

had provided the paper a letter from the Kansas Department of Revenue “to a

Marion businesswoman who recently had been in the news.” Meyer stated that

the letter outlined the steps the businesswoman—whom Meyer did not identify by

name—would need to take to get her driver’s license reinstated, including

installing an ignition interlock device on her car.

      42.     The e-mail explained that the Record had checked with the

Department of Revenue and was told “that anyone could obtain the document if

he or she possessed the recipient’s Kansas identification card number, name, and

date of birth.” The e-mail also noted that “[o]ur source contends that local law

enforcement officers are fully aware that she ... ha[s] been driving for some time

without [an] active, valid license.”

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      43.      Neither Chief Cody nor Sheriff Soyez ever responded to Meyer’s offer

to provide any additional information that might help in an investigation of an

actual crime. An hour and a half before Meyer sent his e-mail to Chief Cody and

Sheriff Soyez, on Friday, August 4, 2023, the Marion Vice Mayor, Ruth Herbel,

sent an e-mail to the Marion City Administrator, Brogan Jones (who has

subsequently resigned).

      44.      Herbel attached to her e-mail a screenshot of the same August 1,

2023, letter from the Kansas Department of Revenue to Newell setting forth the

requirement that Newell have an ignition interlock device installed on her car

before her driver’s license could be reinstated.

      45.      Herbel told the City Administrator she had received the copy of the

letter from a local resident, Pam Maag, who Herbel said had law enforcement

connections. Maag would later publicly identify herself as the person who had

provided the August 1, 2023, letter to Phyllis Zorn at the Marion County Record

on August 2.



            The City Refuses to Investigate the Ongoing Driving Violation

      46.      The City Administrator notified Marion Mayor David Mayfield of his

communications with Herbel the very same day. Specifically, the City

Administrator e-mailed the Mayor and the City Clerk and stated that Chief Cody

and the police department would not be looking into this and the City needed to

stay out of this “hear say.”



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      47.     Despite the City Administrator’s declaration “that Chief/PD will not

be looking into this,” Mayor David Mayfield had a different plan to retaliate

against those that sought to shine a light on this criminal conduct in Marion.

      48.     Ruth Herbel assumed office as a member of the Marion City Council

in 2020. Since that time, the pages of the Marion County Record are full of

reports of attacks and counterattacks between Herbel and Mayor Mayfield—with

Herbel accusing the mayor of repeatedly violating the city charter, giving out

unauthorized raises to favored city employees, holding illegal secret meetings,

and much more.

      49.     During that same time, editorials in the Record had referred to

Mayor Mayfield as a dictator, a bully, as someone who “shows his disdain for the

democratic process,” as someone who “desires to take all power for himself,” and

as someone who lies so much he “metaphorically set[s] his pants on fire” on a

regular basis.

                                In Search of a Crime

      50.     At 7:53 a.m. on Monday, August 7, 2023, Brogan Jones, the City

Administrator, forwarded to Mayor Mayfield and the other council members (but

not Vice Mayor Herbel) Herbel’s email from the Friday before in which Herbel

had forwarded the August 1, 2023, Department of Revenue letter to Kari Newell.

      51.     Shortly thereafter, both Mayor Mayfield and Council Member Zach

Collett notified Kari Newell that Herbel had learned of Newell’s DUI and falsely

claimed that Herbel planned to use Newell’s DUI conviction to oppose Newell’s

application for a liquor license for her upscale restaurant Chef’s Plate, which was

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coming before the city council later that same day. Mayor Mayfield also told

Newell the only way he could get Herbel off the city council was if she (Herbel)

was convicted of a crime.

      52.     Accordingly, that same day, Mayor Mayfield overruled the City

Administrator and authorized Chief Cody to begin an investigation into Newell

and the Marion County Record.

      53.     Mayfield could do this because, according to the Marion City Code,

the mayor “shall ... [h]ave superintending control of all officers and affairs of the

city.” Code of the City of Marion, Kan. § 1-205(a).

      54.     Chief Cody contacted Newell and told her someone had stolen her

mail. When Newell said she did not believe anyone had stolen her mail, Chief

Cody said he would get back to her. When Chief Cody got back to Newell, he told

her someone had stolen her identity in order to access her driver’s license record.

      55.     Specifically, Chief Cody told Newell that a reporter at the Record had

stolen Newell’s identity and provided Herbel with a copy of her driver’s license

record. Chief Cody engaged in this “prevarication” even though he knew that

Pam Maag—and not anyone at the Record—had provided Herbel with a copy of

the August 1, 2023, letter from the Kansas Department of Revenue to Newell.

      56.     Later the same day, Newell appeared before a meeting of the Marion

City Council (at which Mayor Mayfield presided) as part of her attempt to obtain

a liquor license for her restaurant, Chef’s Plate.

      57.     During her appearance, Newell lashed out at Ruth Herbel, calling her

“vile,” and repeated Chief Cody’s false claim that the Record had “illegally”

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obtained Newell’s driver’s record and had provided Herbel with a copy of Newell’s

record. Following Newell’s appearance, Meyer—who was there to report on the

council meeting—stood up and said that no one at the Record had provided Vice

Mayor Herbel with a copy of Newell’s driver’s record or the August 1, 2023,

Department of Revenue letter.

      58..     Following the City Council meeting, Chief Cody stepped up his

investigation into the non-existent “identity theft”, coordinating his work with

Mayor Mayfield and Marion County Sheriff Jeff Soyez. Sheriff Soyez appointed

Marion County Sheriff’s Detective Aaron Christner to assist in the investigation of

Herbel and the Marion County Record.



                                 The “Investigation”

      59.      On Monday, August 7, 2023, Marion Police Officer Zach Hudlin, at

the direction of Chief Cody, “made contact with someone at KDOR in their

information technology department” and was told that on Friday, August 4,

“Phyllis Zorn” had accessed Kari Newell’s driver’srecord via the Kansas Driver’s

License Status Check; Hudlin did not record the name of the person he spoke

with, noting only the unidentified person was “female.”

      60.      This information was true and entirely consistent with what Meyer

had told Chief Cody and Sheriff Soyez in his e-mail to the two men on Friday. The

act of accessing the Kansas Department of Revenue letter via the Kansas

Department of Revenue Status Check tool was perfectly legal and the defendants

knew it.

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      61.     Nevertheless, the very next day, Chief Cody requested Det. Christner

to obtain a “preservation warrant” to serve on the Marion County Record’s

internet provider. Det. Christner, however, learned that the newspaper’s “record

domain is hosted by a small hosing [sic] company out of Wisconsin.”

      62.     Det. Christner told Chief Cody that he had “no legal authority” to

make a request to the Wisconsin company and that “they may notify the Marion

Record if I do so.” Accordingly, Det. Christner told Chief Cody: “My advice is if

you have PC for a search warrant is that we just write that and skip a

preservation.”

      63.     By the next day, Det. Christner had drafted an application for a

search warrant for the Marion County Record; but in his e-mail forwarding the

draft to Chief Cody, Christner stated he was unwilling to sign it himself.

      64.     The next morning, August 10, 2023, Chief Cody had taken Det.

Christner’s draft and prepared search warrant applications for the Marion

County Record, Vice Mayor Ruth Herbel, and Pam Maag. Chief Cody shared

those drafts with Det. Christner.

      65.     Later the same day, Chief Cody discussed the drafts with Sheriff

Soyez, and a decision was made to add a fourth target of the raids: Meyer’s home.

In his applications for the search of the Record and the Meyers’ home, Chief Cody

falsely stated that the federal Driver’s Privacy Protection Act applied to the

Kansas Department of Revenue letter and stated that in order to access the

information someone from the Record had to “l[ie] about the reasons why the

record was being sought.”

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       66.     By way of background, Congress has passed two acts which have

application to this situation. In 1994, the Driver’s Privacy Protection Act was

passed to govern the disclosure of personal information gathered by state

Departments of Motor Vehicles. An exception to the act relates to matters of

“vehicle or drivers’s safety” and specifically does not relate to a driver’s status.

Congress also passed the Privacy Protection Act in 1980. This act requires that in

most situations, law enforcement must seek to obtain information from

journalists through use of a subpoena–as opposed to a surprise search without a

warrant.

       67.     Chief Cody’s statements concerning both the Driver’s Privacy

Protection Act and the requirement that the Kansas Department of Revenue

website requires a user to select “the reasons why the record was being sought”

are false and Chief Cody either knew they were false or acted with reckless

disregard for whether they were false. KDOR specifically notes that an

individual’s “driver’s status” is explicitly not “protected information” under the

Act.

       68.     Because the Act explicitly states that protected personal information

“does not include information on vehicular accidents, driving violations, and

driver’s status,” the information which the Record obtained from the Kansas

Driver’s License Status Check website (i.e., the status of Newell’s driver’s license)

is not covered by the Driver’s Privacy Protection Act.

       69.     Chief Cody either knew or should have known the Act does not apply

to this information because the complete text of the federal Driver’s Privacy

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Protection Act—including the provision stating that the Act does not apply to

information on a driver’s status—is set forth on the Kansas Department of

Revenue website; thus, it did not require any legal research to know that the Act

did not apply to the information the Record accessed.

      70.     In fact, following the raid, the official spokesperson for the Kansas

Department of Revenue Department, Zach Denney, repeatedly stated to media

outlets that so long as a person has the identifying information it is perfectly legal

to use the Kansas Driver’s License Status Check to verify the status of someone’s

driver’s license.

      *       “That’s legal. The website is public facing, and anyone can use it.”
              (AP)

      *       “As long as the requestor has the required information, this
              information is public record and available online.” (KC Star)

      *       “The motor vehicle driver’s checker is public-facing and free-use. If
              you have my [identifying] information, you can pull it [my driver’s
              record] out.” (NBC News)

      71.     The fact that Newell was driving without a valid license—which

Newell has since repeatedly admitted was true and was well known by local law

enforcement—plainly relates to “the operation of a motor vehicle [and] public

safety.”

      72.     Equally false is Chief Cody’s claim that in order to use the “Kansas

Driver’s License Status Check” a user has to provide a reason (or reasons) for

accessing the information. Rather, as noted above, a user only has to know a

person’s driver’s license number, first and last name, and date of birth to access

anyone’s driver’s license information, and to access the actual documents

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concerning a person’s license status a user must only agree to use the information

in accordance with Kansas law.

      73.     Thus, the entire premise of Chief Cody’s claim that a crime had been

committed by the Record’s use of the Kansas Department of Revenue Status

Check tool to verify that the information and document which the paper’s

confidential source had provided about the status of Newell’s driver’s license was

false and Cody either knew it was false or should have known it was false.

                                      The Illegal Raid

      74.     On Friday, August 11, 2023, Chief Cody spearheaded a team of armed

law enforcement officers in conducting raids on the offices of the Marion County

Record, the home of Joan and Eric Meyer, and the home of Ruth Herbel.

      75.     The raids were conducted pursuant to the invalid search warrants

which Chief Cody had obtained under false pretenses.

      76.     The first raid occurred at the offices of the Marion County Record,

where Chief Cody led a squad including himself, Marion police officer Zach

Hudlin, and Marion County Sheriff’s detective Aaron Christner.

      77.     The officers approached the building from the rear, where they

confronted Record reporters Zorn and Deb Gruver. Chief Cody forcibly yanked

Gruver’s cell phone from her hand, which Gruver indicates has injured her.

      78.     The officers then entered the offices of the Record, led by Chief Cody.




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                                   The Sham Preview Search

         79.     The warrant obligated the officers to conduct a “preview search” of

any electronic devices so that the officers only seized items that were actually

used in connection with the so-called “identity theft.”

         80.     In accordance with this requirement, Marion County Sheriff’s Det.

Aaron Christner connected an external drive via a USB port to reporter Phyllis

Zorn’s computer in the Record’s newsroom. He then executed a software

application titled osTriage, which he had previously loaded onto the external

drive.

         81.     The program allows a user to conduct a keyword search on the

connected computer and its storage media, thereby allowing a user to make a

determination in the field as to whether the device was used in the commission of

a crime. But the keywords selected for the preview search of the Record’s

computers were so vague and indistinct they constituted a sham search. For

example, one of the keywords was the word “vehicle,” while another keyword was

the word “Kansas.”

         82.     None of the “hits” from the “preview search” of Phyllis Zorn’s

computer were even suggestive of a crime. Instead, it is obvious the keyword

search terms were a sham and were never designed to comply with the search

warrant’s requirement that officers conduct a preview search “to exclude from

seizure those which have not been involved in the identity theft.” The name

searches produced false “hits” 100% of the time.



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      83.     Despite the fact the “preview searches” revealed no evidence Phyllis

Zorn’s computer was used to commit any crime, Chief Cody nevertheless directed

Zorn’s computer be seized.

      84.     While Det. Christner was running the preview search on Phyllis

Zorn’s computer, Ofc. Zach Hudlin was conducting a physical search of the

Marion County Record newsroom, reading papers on countertops, going through

reporter’s purses, and rifling through files in reporter’s desks.

      85.     When Ofc. Hudlin got to Deb Gruver’s desk (it was Gruver who had

been investigating the tips which the paper had received about Chief Cody)

Hudlin paid particular attention to the files in the bottom, right-hand drawer in

Gruver’s desk.

      86.     Among the files Hudlin observed in Gruver’s desk drawer was

Gruver’s investigative file on the confidential tips the Record had received about

Gideon Cody from officers with the Kansas City, Missouri, Police Department

describing Cody’s rampant misconduct; the file was in a folder titled “Capt.

Gideon Cody,” which was Cody’s rank in the Kansas City Police Department when

he applied to be Marion’s top cop. Also inside the folder was information about

other confidential sources who provided information about Gideon Cody.

      87.     After Hudlin rifled through Gruver’s files—and while he was standing

next to Gruver’s desk—Hudlin began the following conversation with Chief Cody:

      Hudlin: “You want to look through this desk?

      Cody: “You have the right to look for yourself.”

      Hudlin: “I know, I’m asking do YOU want to look through this desk?

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      Cody: “Man, you got a right to ...”

      Hudlin: “I understand. You will understand shortly.”

      88.     Chief Cody is then seen on Hudlin’s body camera footage bending

down to look inside Gruver’s bottom right-hand desk drawer, where Gruver’s file

on Cody was located. A short time later, Chief Cody is recorded as saying: “Hmm.

... Keeping a personal file on me.”

      89.     Chief Cody thereby admits to having viewed Gruver’s file on her

investigation of the many tips the Record had received about him, which included

the name (and at least one photograph) of Gruver’s confidential sources

      90.     The Marion Police Department produced hours of video in response

to a Kansas Open Records Act request for Chief Cody’s body camera footage of the

raids; that footage includes video of Cody relieving himself at Casey’s General

Store between the search of the Herbel home and the search of the Meyer home.

      91.     While Chief Cody did not turn off his body camera while relieving

himself, he apparently chose to turn it off while he reviewed Gruver’s file on him,

for the Marion Police Department did not produce any body camera footage from

Cody of him looking through Gruver’s file on him.

      92.     According to the log created by the osTriage software application,

Det. Christner began his “preview search” on Phyllis Zorn’s computer at 11:11:57

AM. That same log shows Christner did not complete the “preview search” until

12:32:05 PM. Following the completion of the “preview search” on Zorn’s

computer, Ofc. Hudlin said, “We’d be here all freakin’ day if we were going to do



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that to all those computers.” By noon, Chief Cody’s body camera footage had

already recorded him saying, “I’m “starvin.”

      93.     Shortly after Hudlin made his “all freakin’ day” comment,” Chief

Cody spoke on the phone with Marion County Sheriff Jeff Soyez. Chief Cody

brought Soyez up to speed on the search and is then heard saying, “Alright, we’ll

just take them all.” Chief Cody then turned to Det. Christner and Ofc. Hudlin and

said, “Let’s get the f*ck out of here.”

      94.     Chief Cody’s decision to ignore the requirement in the search

warrant that he conduct a “preview search” to exclude devices not used in the so-

called “identify theft” and, instead, to “just take them all,” i.e. to seize the other

newsroom computers without performing a “preview search” on them, was based

on what he variously described on the body camera recordings as:

      •       “I have a feeling that numerous people had it in this office,
              and that’s just the gut;”

      •       “I have a feeling it’s on that one too;” and

      •       “This is just me playing instinct.”

Yet, Chief Cody was repeatedly caught on body camera footage acknowledging he

was out of his element:

      •       “If I’m forgetting something guys, you gotta let me know, I’m out of
              practice, you know;” and

      •      “I’m out of practice. You see something I’m forgetting you just let me
             know.”




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     95.     Based on his “gut” and his growling stomach, Chief Cody then

directed that Meyer’s computer, Deb Gruver’s computer, and the network file

server be seized without attempting a preview search on those computers.

     96.     Chief Cody’s action in ordering the seizure of the four computers was

in clear violation of the search warrant’s requirement to conduct a preview search

“to exclude from seizure those which have not been involved in the identity theft.”

By seizing the computers of Eric Meyer, Phyllis Zorn, Deb Gruver, and the

network file server, Chief Cody seized all of the computers in the Marion County

Record’s newsroom, effectively shutting down the newspaper.

      97.     Similarly, Chief Cody directed that Ofc. Hudlin seize Ms. Zorn’s cell

even though no preview search of any sort was conducted on the phone.

      98.     In addition to searching the newsroom and seizing the newsroom

computers, Chief Cody also attempted to interrogate the Record staff, who were

told they had to wait outside the Record’s offices, even though the temperature

was near 100 degrees.

      99.     Chief Cody called the staff members inside, one-by-one, so he could

question them. Cody first called Ms. Zorn into the newsroom and attempted to

give her the Miranda warning, but he couldn’t recall the wording of the warning.

He nevertheless attempted to get Zorn to incriminate herself, but she said she

believed she had done nothing wrong.

      100. Chief Cody also tried to get Zorn to incriminate Meyer, telling her she

could disregard orders she believed were illegal; Zorn said she did not believe she

did anything illegal. Chief Cody asked Zorn if she used her phone to access the

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Kansas Department of Revenue website and she said no. Despite Zorn’s denial,

Chief Cody directed Ofc. Hudlin to seize Zorn’s phone, without conducting a

“preview search” of any sort on the phone.

      101.   Chief Cody then asked Det. Christner for a copy of his (Det.

Christner’s) Miranda warning card so he could use it for continued

interrogations. But when Gruver came into the newsroom for her interview, Chief

Cody realized he did not have his reading glasses with him and he could not read

the card, so he directed Ofc. Hudlin to read it to Gruver.

      102. Gruver—having investigated Chief Cody and being aware of his

incompetence— asserted her right to remain silent and did not answer Cody’s

questions. Again, however, Chief Cody directed Ofc. Hudlin to seize Gruver’s

phone, even though Cody had no factual basis for believing that Gruver

participated in the so-called “identity theft.”

      103. When Meyer learned what was going on at his newspaper, he

immediately drove to the office. When Hudlin told Cody that Meyer was on his

way to the Record, Cody told Hudlin, “if he interferes with anything put him in

cuffs.”

      104. When Eric Meyer arrived, he was denied entry by Chief Cody, who

said Meyer could only enter the offices for the purpose of being Mirandized and

then interrogated by Cody. Meyer responded to Chief Cody by explaining that he

needed access to his office to obtain the phone number of his attorney and that by

denying him access to this office Cody was effectively denying him the right to



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counsel. Chief Cody told his fellow officers he found Eric Meyer’s complaints

about being denied his right to counsel “amusing.”

      105. Meyer then waited outside the Record’s offices for Chief Cody and his

entourage to leave so that he could assess the damage done by the officers.

      106. As the raid was ongoing, Chief Cody received a text message from

Kari Newell, wanting to talk about the status of the raid. Chief Cody later called

Newell back and said, “we can’t write anything,” and Newell replied, “I

understand.” Chief Cody then proceeded to give Newell a complete rundown on

the status of the raids, telling her, for example, he tried to “download” files from

the computers at the Record, “but that didn’t work, so f*ck it,” he just took the

computers.

      107. After the raids were completed, Chief Cody then drove to the Marion

County Sheriff’s Office where he met with Sheriff Soyez to debrief him on the

raids while sharing pizza and liquid refreshments. As the pizza party was going

on, Chief Cody told Sheriff Soyez that when he yanked Deb Gruver’s cell phone

out of her hand (it was Gruver who had been investigating why Cody left the

Kansas City Police Department) it “made my day.” When Sheriff Soyez pointed

out to Chief Cody that he (Cody) had forgotten to turn off his body camera, Cody

ordered Ofc. Hudlin to turn off Cody’s body camera, saying “I can’t get this damn

thing to turn off.”

      108. On Sunday, August 13, 2023, the KBI issued a statement that it was

taking over the investigation. On Tuesday, August 15, 2023, Chief Cody and

Marion County Sheriff’s Deputy Aaron Christner exchanged drafts of probable

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cause affidavits supporting arrest warrants for Eric Meyer, Phyllis Zorn, and Ruth

Herbel.

      109. On Wednesday, August 16, 2023, Chief Cody forwarded to the KBI

the draft probable cause affidavits. In the affidavits, Chief Cody sought arrest

warrants based on more than a dozen different alleged criminal charges.

                             The County Attorney Panics

      110.     The pretense behind the raid soon began to fall apart. On

Wednesday, August 16, 2023, Marion County Attorney Joel Ensey filed a motion

to release the evidence seized during the raids, which District Court Judge

Benjamin Sexton granted the same day. At the same time he filed his motion,

Ensey issued a press release stating that “insufficient evidence” exists “to

establish a legally sufficient nexus” between any crime Chief Cody may have been

investigating and “the places searched and the items seized.”

      111.     The press release stated that Ensey was asking local enforcement to

return the items seized to their owners. Ensey, however, did not “clear” the

Record or any of its staff of wrongdoing, meaning they remained under criminal

investigation.

      112.     The same day, the KBI issued a media release in which it stated its

investigation was ongoing and that “[o]nce our investigation concludes we will

present findings to the Marion County Attorney for review.”

      113.     Later that same day, a forensic examiner retained by the Record’s

attorney, arrived in Marion to retrieve the seized items, which were being stored



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at the Marion County Sheriff’s Office. The transfer of the items to the examiner

was personally supervised by Sheriff Soyez.

      114.     As part of the transfer, forensic examiner was given an inventory of

items seized from the Marion County Record during the raid. The inventory did

not include the digital drive which Det. Christner had used to extract data from

Phyllis Zorn’s computer during the raid on the Record’s offices. As noted above,

that drive revealed that the required “preview search” in fact showed no criminal

activity, but instead produced “hits” for an advertisement for an animated

children’s movie, the district court’s logo, and other innocent files. That drive was

not given to the examiner when he came to retrieve the items which the Court had

ordered released.

      115.     It was not until August 29, 2023—after the Record’s attorney

threatened to attempt to hold the Sheriff in contempt—that the contents of the

drive were finally released to the Record pursuant to a second order from District

Court Judge Ben Sexton.



                            Chief Cody Destroys Evidence

      116.     As the unprecedented, unconstitutional, and illegal raids began to

create international condemnation, Chief Cody became concerned his

wrongdoing would be exposed. Accordingly, Chief Cody began e-mailing the

contents of his file to his personal e-mail address.

      117.     In addition, Chief Cody asked Kari Newell to destroy her text

messages with Cody. Chief Cody explained these flirtatious text messages could

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be used against them. Later, when Newell (who Cody referred to as “Honey”)

became concerned with her own criminal liability for deleting her text messages

with the police chief, she texted Cody and asked, “If attorneys or kbi go digging

and see I deleted the texts as you asked me to, will I get in trouble? Cody’s

response: “Quit being paranoid.”

      118.     On October 2, 2023, Marion Police Chief Gideon Cody resigned and

fled the jurisdiction. It is believed he may be somewhere in Hawaii.



                                 Claims of the Plaintiff

      119.     As the above facts show, which are incorporated by reference, the

defendants are co-conspirators in an unconstitutional effort to deny Ms. Zorn her

rights under the First and Fourth Amendments to the United States Constitution.

All of the defendants were acting under color of law when they took the actions

described above.

      120. The First Amendment to the United States Constitution guarantees

that “Congress shall make no law ... abridging the freedom of speech, or of the

press.” The Fourteenth Amendment to the United States Constitution extends the

protection of the First Amendment to actions taken by local governments and by

local government officials.

      121.     Prior to August 2023, it was clearly established that the First

Amendment guaranteed the press the right to gather information about matters

of legitimate public concern. Prior to 2023, it was also clearly established that the

First Amendment prohibited government officials, including the police, from

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suppressing information that is critical of government action or inaction. The

defendants engaged in a conspiracy to restricting Ms. Zorn’s ability to gather

information about a matter of legitimate public concern: whether law

enforcement was allowing a high-profile local businesswoman to illegally operate

a motor vehicle. The underlying purpose of the raid was to abridge Ms. Zorn’s

First Amendment rights. In addition, the illegal raid was in retaliation for Ms.

Zorn exercising her First Amendment rights.

      122. Ms. Zorn’s protections under the First Amendment were clearly

established before August 2023. The City of Marion, County of Marion and

Sheriff Soyez are liable for their failure to train their officers as to the protecti0ns

guranteed under the First Amendment.

      123. Under the Fourth Amendment to the United States Constitution, a

person has the right to be free from an unreasonable search and seizure of her

property. Defendants Soyez, Cody, Hudlin and Christner conspired intentionally

to deprive the plaintiff of her Fourth Amendment rights by exceeding the scope of

an unlawfully obtained search warrant. The seizure of the plaintiff’s phone and

computer exceeded the scope of the search warrant (which had been illegally

obtained with knowingly false information).

      124. Ms. Zorn’s protections under the Fourth Amendment were clearly

established before August 2023. The City of Marion, County of Marion and

Sheriff Soyez wholly failed to train their officers as to the protecti0ns guaranteed

under the Fourth Amendment.



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      125. The plaintif has sustained damages as a result of the defendants’

conduct. Within days after the raid, Ms. Zorn began to suffer from Tonic Clonic

seizures (commonly known as Grand Mal seizures). Prior to the raid, her seizures

were under good medical control and she had gone as long as five years without a

seizure. The seizures have been debilitating and have led to extreme depression

and anxiety.

      126. The individual defendants are liable in punitive damages because of

the malicious and reckless nature of their conduct.

       WHEREFORE, the Plaintiff requests that she be awarded actual and

punitive damages in the amount of $950,000 plus her attorney’s fees pursuant to

42 U.S.C. § 1988(b), the costs of this action, and such other and further relief as

this Court deems just or equitable.

                                Respectfully submitted,

                                DEPEW GILLEN RATHBUN & MCINTEER LC

                                /s/Randall K. Rathbun
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                      DESIGNATION OF PLACE OF TRIAL

       COMES NOW the plaintiff and designates Kansas City, Kansas as the

place of trial of this action.

                                 Respectfully submitted,

                                 DEPEW GILLEN RATHBUN & MCINTEER LC

                                 /s/Randall K. Rathbun
                                 Randall K. Rathbun #09765
                                 Attorneys for Plaintiff




                            REQUEST FOR JURY TRIAL

       COMES NOW the plaintiff and respectfully requests a trial by jury with

regard to the above-captioned action.

                                 Respectfully submitted,

                                 /s/Randall K. Rathbun
                                 Randall K. Rathbun #09765
                                 Attorneys for Plaintiff




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